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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 ZACHARIAH MILLS,                               :
                                                :
         Plaintiff,                             :
                                                :
 v.                                             :   Case No. 1:22-cv-1001-CKK
                                                :
 AMERICAN UNIVERSITY, et al.                    :
                                                :
         Defendants.                            :

DEFENDANTS’ JOINT MOTION TO DISMISS PURSUANT TO FEDERAL RULES OF
  CIVIL PROCEDURE 4(m), 12(b)(2), (5), AND 41(b) OR, IN THE ALTERNATIVE,
     FOR AN EXTENSION OF TIME TO FILE A RESPONSIVE PLEADING

       Defendants American University (“AU”), Daniel Esser, Sharon Weiner, Boaz Atzili,

Christine Chin, Carolyn Gallaher, Jaris Williams, Mary Clark, Traci Callandrillo, Fanta Aw, Carol

Crawford, Jeffrey Brown, Eleni Ekmektsioglou, Luciana Storelli-Castro, Manaswini Ramkumar,

and Marcelline T. Babicz (collectively, with AU, the “Defendants”), pursuant to Federal Rules of

Civil Procedure 4(m), 12(b)(2), (5), and 41(b), move to dismiss Plaintiff’s Amended Complaint

(ECF 7) with prejudice. If the Court does not grant this Motion and dismiss the Amended

Complaint in its entirety, Defendants ask for an extension of sixty days from the Court’s order to

file a responsive pleading addressing the merits of the Amended Complaint for any Defendant

found to be properly served. In support of this Motion, Defendants refer the Court to the attached

Memorandum of Points and Authorities or, in the Alternative, for an Extension of Time to File a

Responsive Pleading.
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                           Respectfully submitted,

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